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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION




   United States of America, et al.,

                          Plaintiff,                     Case No. 1:23-cv-00108-LMB-JFA

         v.                                              The Honorable Leonie M. Brinkema

   Google LLC

                           Defendant.



             NON-PARTIES OMNICOM GROUP INC., DDB WORLDWIDE
       COMMUNICATIONS GROUP LLC, GSD&M LLC, PORTER NOVELLI PUBLIC
       SERVICES INC., AND OMD USA LLC’S MOTION TO SEAL CERTAIN TRIAL
                                  EXHIBITS

    Pursuant to Rule 5.2(d) of the Federal Rules of Civil Procedure, Local Civil Rule 5(C), and the

  Court Order dated June 24, 2024 (ECF Nos. 871), Non-Parties Omnicom Group Inc., DDB

  Worldwide Communications Group LLC, GSD&M LLC, Porter Novelli Public Services Inc.,

  and OMD USA LLC (collectively the “Omnicom Entities”), respectfully object to the public use

  of the following confidential documents and request that the Court seal either portions of or the

  entirety of the following trial exhibits:

              1. Defendant’s Trial Exhibit No. 378 (DTX 378)

              2. Defendant’s Trial Exhibit No. 630 (DTX 630)

              3. Defendant’s Trial Exhibit No. 631 (DTX 631)

              4. Defendant’s Trial Exhibit No. 835 (DTX 835)

              5. Defendant’s Trial Exhibit No. 878 (DTX 878)

              6. Defendant’s Trial Exhibit No. 940 (DTX 940)


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          7. Defendant’s Trial Exhibit No. 1107 (DTX 1107)

          8. Defendant’s Trial Exhibit No. 1113 (DTX 1113)

          9. Defendant’s Trial Exhibit No. 1140 (DTX 1140)

          10. Defendant’s Trial Exhibit No. 1151 (DTX 1151)

          11. Defendant’s Trial Exhibit No. 1152 (DTX 1152)

          12. Defendant’s Trial Exhibit No. 1163 (DTX 1163)

          13. Defendant’s Trial Exhibit No. 1172 (DTX 1172)

          14. Defendant’s Trial Exhibit No. 1228 (DTX 1228)

          15. Defendant’s Trial Exhibit No. 1242 (DTX 1242)

          16. Defendant’s Trial Exhibit No. 1249 (DTX 1249)

          17. Defendant’s Trial Exhibit No. 1267 (DTX 1267)

          18. Defendant’s Trial Exhibit No. 1280 (DTX 1280)

          19. Defendant’s Trial Exhibit No. 1294 (DTX 1294)

          20. Defendant’s Trial Exhibit No. 1299 (DTX 1299)

          21. Defendant’s Trial Exhibit No. 1318 (DTX 1318)

          22. Defendant’s Trial Exhibit No. 1327 (DTX 1327)

          23. Defendant’s Trial Exhibit No. 1333 (DTX 1333)

          24. Defendant’s Trial Exhibit No. 1336 (DTX 1336)

          25. Defendant’s Trial Exhibit No. 1347 (DTX 1347)

          26. Defendant’s Trial Exhibit No. 1373 (DTX 1373)

          27. Defendant’s Trial Exhibit No. 1381 (DTX 1381)

          28. Defendant’s Trial Exhibit No. 1394 (DTX 1394)

          29. Defendant’s Trial Exhibit No. 1399 (DTX 1399)




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            30. Defendant’s Trial Exhibit No. 1400 (DTX 1400)

            31. Defendant’s Trial Exhibit No. 1461 (DTX 1461)


  Dated: July 26, 2024                            Respectfully submitted,

                                                  /s/ David L. Johnson
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                                                  Counsel for Non-Parties Omnicom Group
                                                  Inc., DDB Worldwide Communications
                                                  Group LLC, GSD&M LLC, Porter Novelli
                                                  Inc., and OMD USA LLC




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